Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 1 of 60
                                                              United States District Court
                                                                Southern District of Texas

                                                                   ENTERED
                                                               December 30, 2021
                                                                Nathan Ochsner, Clerk
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 2 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 3 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 4 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 5 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 6 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 7 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 8 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 9 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 10 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 11 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 12 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 13 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 14 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 15 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 16 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 17 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 18 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 19 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 20 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 21 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 22 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 23 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 24 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 25 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 26 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 27 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 28 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 29 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 30 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 31 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 32 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 33 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 34 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 35 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 36 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 37 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 38 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 39 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 40 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 41 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 42 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 43 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 44 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 45 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 46 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 47 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 48 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 49 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 50 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 51 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 52 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 53 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 54 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 55 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 56 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 57 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 58 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 59 of 60
Case 4:16-cv-03595 Document 372 Filed on 12/30/21 in TXSD Page 60 of 60
